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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA
                                                   *
                                                   *
                 v.
                                                   *
                                                   *
 MICHAEL L. BABICH, ALEC
                                                   *     Criminal Action No. 16-cr-10343-ADB
 BURLAKOFF, MICHAEL J. GURRY,
                                                   *
 RICHARD M. SIMON, SUNRISE LEE,
                                                   *
 JOSEPH A. ROWAN, and JOHN KAPOOR,
                                                   *
                                                   *
                 Defendants.

      ORDER REGARDING THE GOVERNMENT’S MOTION FOR SANCTIONS

BURROUGHS, D.J.

        Before the Court is a motion by the Government to sanction defense counsel for

Defendant John Kapoor for statements made to the news media on November 28, 2018, order

defense counsel to comply with Local Rule 83.2.1, and preclude additional violations of that rule

or the Court’s Protective Orders. [ECF No. 549]. For the reasons discussed below, the Court

DENIES the motion for sanctions and ORDERS that extrajudicial statements by the Government

and defense counsel are hereby restricted as set forth herein.

        Local Rule 83.2.1 governs the release of information by attorneys at various stages of

litigation. It provides that:

        No lawyer shall release or authorize the release of information or opinion which a
        reasonable person would expect to be disseminated by means of public
        communication, in connection with pending or imminent criminal litigation with
        which the lawyer is associated, if there is a reasonable likelihood that such
        dissemination will interfere with a fair trial or otherwise prejudice the due
        administration of justice.

L.R. 83.2.1(a). Further, during the pendency of a criminal case “until the commencement of

trial,” Local Rule 83.2.1 prohibits any lawyer associated with the prosecution or the defense

from making or authorizing any extrajudicial statement relating to that matter and concerning,
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inter alia, the “character or reputation of the accused,” the “identity, testimony, or credibility of

prospective witnesses,” and “[a]ny opinion as to the accused’s guilt or innocence as to the merits

of the case or the evidence in the case.” L.R. 83.2.1(c). In addition, Local Rule 83.2.2

authorizes this Court to, on its own motion, “issue a special order governing such matters as . . .

extrajudicial statements by parties and witnesses that are likely to interfere with the rights of the

accused or the litigants to a fair trial by an impartial jury” in a “widely publicized” criminal case

such as this. L.R. 83.2.2.

       Here, the Government asserts that defense counsel for Defendant Kapoor violated Local

Rule 83.2.1 and this Court’s Protective Orders by making statements to the news media

following the guilty plea of Defendant Alec Burlakoff that were “designed to negatively impact

the prospective jury venire.” [See ECF No. 549]. In response, counsel defends her actions by

arguing that her statements concerned non-confidential factual information and were made to

counteract the “false narrative” perpetuated by the Government in its public pronouncements

about this case. [See ECF No. 553].

       The Court finds that counsel for both parties have made improper remarks in public

statements concerning this case that have run afoul of Local Rule 83.2.1, and that there is a

substantial likelihood that comments from counsel might taint the jury pool or otherwise threaten

the Defendants’ right to a fair trial. This Court has “an affirmative constitutional duty to

minimize the effects of prejudicial pretrial publicity.” Gannett Co. v. DePasquale, 443 U.S. 368,

378 (1979); see also Chandler v. Florida, 449 U.S. 560, 574 (1981) (“Trial courts must be

especially vigilant to guard against any impairment of the defendant’s right to a verdict based

solely upon the evidence and the relevant law.”); United States v. Brown, 218 F.3d 415, 423–24

(5th Cir. 2000) (“The vigilance of trial courts against the prejudicial effects of pretrial publicity




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also protects the interest of the public and the state in the fair administration of criminal

justice.”). Both the Government and defense counsel have demonstrated that the potential for

gratuitous and inflammatory publicity requires this Court to exercise its authority under Local

Rule 83.2.2 and its duty to protect the Defendants’ constitutional rights to a fair trial by limiting

extrajudicial statements by the Government and defense counsel beyond those proscribed by

Local Rule 83.2.1.

       Accordingly, the Court hereby ORDERS that, until the final determination of this case at

trial, all prosecutors (including representatives of the U.S. Attorney’s Office and the Department

of Justice not appearing in this case) and counsel for the defense (including their agents and

employees), shall not make or issue any extrajudicial statement, written or oral, to any member

of the news media relating to this case which could interfere with a fair trial, including but not

limited to statements regarding the jury or potential jurors in this case, the merits, the evidence,

witnesses, or rulings of this Court, with exceptions for matters of public record and assertions of

innocence. The Court takes no steps which proscribe the news media from reporting events that

transpire in the Courtroom.

       At this time, the Court finds that this restriction on extrajudicial statements is the least

restrictive corrective measure available to ensure a fair trial. Although this Court has the power

to impose sanctions on the Government and defense counsel for statements made in violation of

Local Rule 83.2.1, the Court chooses not to do so at this time. Instead, Counsel are put on notice

that any violation of this Order may result in a finding of contempt and/or the imposition of

sanctions.




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      SO ORDERED.

December 17, 2018                             /s/ Allison D. Burroughs
                                              ALLISON D. BURROUGHS
                                              U.S. DISTRICT JUDGE




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